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                                                               United States Bankruptcy Court
                                                      Northern District of Florida, Gainesville Division
    In re   Prioria Robotics, Inc.                                                                             Case No.   18-10018
                                                                                  Debtor(s)                    Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)1

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Prioria Robotics, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Prioria Robotics Holdings, Inc.
 P.O. Box 358920
 Gainesville, FL 32635-8920




      None [Check if applicable]




 February 5, 2018                                                    /s/ Scott A. Stichter
 Date                                                                Scott A. Stichter 710679 - Florida
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Prioria Robotics, Inc.
                                                                     Stichter, Riedel, Blain & Postler, P.A.
                                                                     110 E. Madison St., Suite 200
                                                                     Tampa, FL 33602
                                                                     813-229-0144 Fax:813-229-1811




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    The Debtors were parties to a New Market Tax Credit ("NMTC") transaction. The Debtors executed documents
        to unwind the transaction, which provide for, among other things, the cancellation of debt owed by PRH to
        Advantage Capital Florida NMTC Partners, VIII, LLC ("Advantage Capital"). The amount of debt
        assumes that the NMTC transaction has been unwound.
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